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                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA

In re:                                                      Case No: 12-22873
                                                            Chapter 13
Rafael Corrales-Yunez
Dolores Maria Corrales
      Debtor(s)
                               /


                EXPEDITED MOTION TO AMEND DISMISSAL ORDER TO BE
              WITHOUT PREJUDICE PERIOD TO FILE A NEW CHAPTER 13 CASE
                       BASIS: FORECLOSURE SALE BEING RESET

       COMES NOW, Debtor, Dolores Maria Corrales, by and through the undersigned counsel and
moves this Honorable Court to amend the dismissal to be without prejudice period, and as grounds
therefore states:

         1.    On May 25, 2012, the Debtor filed a Chapter 13 Petition with her spouse.
         2.    The purpose of the filing was to seek modification of the Debtor’s mortgage. Unfortunately,
               the modification attempt was not completed, as Creditor Wells Fargo Bank never responded
               to Debtors’ attempts. 12
         3.    To date, the Debtor has paid $80,928.51 to the Chapter 13 Trustee.
         4.    The Debtor’s homestead property is worth in excess of $587,410.00 according to
               comparable market sales.
         5.    The Debtor is now a widower due to the passing of the Co-Debtor Rafael Corrales-Yunez.
                She has undergone education training and is now employed in the workforce.
         6.    According to Proof of Claim 10-1 filed by Creditor in this matter,
               there is an approximate balance as of the filing date in the amount of $121,580.33.

      WHEREFORE, for the above stated reasons, Debtor respectfully requests this Honorable Court to
amend the dismissal to be without the prejudice period in order to allow the Debtor to file a new case.

        I CERTIFY, that I am a member of the Bar of the United States District Court for the Southern
District of Florida and I am in compliance with the additional qualifications to practice in this Court set
forth in Local Rule 2090-1(A).
                                                     Respectfully Submitted:
                                                     JAMES ALAN POE, P.A.
                                                     Attorney for Debtor
                                                     9500 S. Dadeland Blvd. Suite 610
                                                     Miami, FL 33156
                                                     (305) 670-3950
                                                     By:    /S/
                                                            James A. Poe., Esq.
                                                            F.B.N. 107956
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                                  CERTIFICATE OF SERVICE AND
               CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 9073-1(D)
       I CERTIFY that a true and correct copy of the foregoing has been provided by U.S. Mail on this
2nd day of February, 2018 to all parties on the service list below.

                                                   Respectfully Submitted:
                                                   JAMES ALAN POE, P.A.
                                                   Attorney for Debtor
                                                   9500 S. Dadeland Blvd. Suite 610
                                                   Miami, FL 33156
                                                   (305) 670-3950
                                                   By:    /S/
                                                          James A. Poe., Esq.
                                                          F.B.N. 107956
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Service List:

IBERIABANK c/o J. Ellsworth Summers, Jr., Esq.Rogers Towers, P.A.1301 Riverplace BoulevardSuite 1500Jacksonville, FL 32207-
9020
JEFFERSON CAPITAL SYSTEMS LLCPO BOX 7999SAINT CLOUD MN 56302-7999preferred
Vanda, LLC c/o Weinstein & Riley, P.S.2001 Western Ave., Ste. 400Seattle, WA 98121-3132
Village of Pinecrest 2525 Ponce De Leon BoulevardSuite 700Coral Gables, FL 33134-6045
Wells Fargo Home Mortgage. c/o Alice Blanco3575 Piedmont Rd NE #500Atlanta, GA 30305-1623
Miami undeliverable
Amc Mortgage Services 2077 N Main St Ste 1050Santa Ana, CA 92705
American Express Bank FSB c/o Becket and Lee LLPPOB 3001Malvern PA 19355-0701
Americas Servicing Co Attention: BankruptcyPo Box 10328Des Moines, IA 50306-0328
Asset Acceptance LLC PO Box 2036Warren MI 48090-2036
Bank Of America 4060 Ogletown/Stanton RdNewark, DE 19713
Bmw Bk No Am 2735 E Parleys WaySalt Lake City, UT 84109-1666
CANDICA, LLC C O WEINSTEIN AND RILEY, PS2001 WESTERN AVENUE, STE 400SEATTLE, WA 98121-3132
Capital One, N.a. C/O American InfosourcePo Box 54529Oklahoma City, OK 73154-1529
Central Loan Admin & R 425 Phillips BlvdEwing, NJ 08618-1430
Century Bank 1680 Fruitville RoadSarasota, FL 34236-8511
Chase 201 N. Walnut St//De1-1027Wilmington, DE 19801-2920
Chase Bank One Card ServWesterville, OH 43081
CHASE CARD SERVICES201 NORTH WALNUT STREETATTN MARK PASCALEMAIL STOP DE1-1406WILMINGTON DE 19801-
2920preferred
Chase - Cc Po Box 15298Wilmington, DE 19850-5298
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Gemb/brandsmart undeliverable
Gemb/chevron Attention: BankruptcyPo Box 103104Roswell, GA 30076-9104
Gemb/sound Advice Po Box 981439El Paso, TX 79998-1439
Home Comings Financial Attention: Bankruptcy Dept1100 Virginia DriveFort Washington, PA 19034-3204
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Hsbc/neimn Hscb Retail Srvs/ Attn: BankruptcyPo Box 5263Carol Stream, IL 60197-5263
Hsbc/saks Pob 15521Wilmington, DE 19850-5521
IBERIABANK c/o Michael S. Waskiewicz1301 Riverplace Blvd., Ste. 1500Jacksonville, Florida 32207-1811
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Macys/fdsb Macy's BankruptcyPo Box 8053Mason, OH 45040-8053
Mutual Mgmt undeliverable
Nordstrom FSB Attention: Bankruptcy DepartmentPo Box 6555Englewood, CO 80155-6555
Nordstrom FSB Attention: Bankruptcy DepartmentPo Box 6566Englewood, CO 80155-6566
Office of the US Trustee 51 S.W. 1st Ave.Suite 1204Miami, FL 33130-1614
PORTFOLIO RECOVERY ASSOCIATES LLCPO BOX 41067NORFOLK VA 23541-1067preferred
Quantum3 Group LLC as agent for Galaxy Portfolios LLCPO Box 788Kirkland, WA 98083-0788
Rutherford Mulhall, P.A. 2600 N. Military Trail, 4th FLBoca Raton, FL 33431-6330
Sears/cbsd 701 East 60th St NSioux Falls, SD 57104-0432
Sears/cbsd Po Box 6189Sioux Falls, SD 57117-6189
Vanda, LLC c/o Weinstein & Riley, P.S.2001 Western Ave., Ste. 400Seattle, WA 98121-3132 duplicate
Volkswagon Credit Inc c/o Brice, Vander, Linden and Wernick PC9441 Lbj Freeway Suite 250Dallas, TX 75243-4640
Washington Mutual / Providian Attn: Bankruptcy Dept.Po Box 10467Greenville, SC 29603
Wells Fargo Bank, N.A. ATTN: Bankruptcy Department T7416-0234101 Wiseman Blvd.San Antonio, TX 78251-4200
World Savings & Loan Attn: Bankruptcy4101 Wiseman BlvdSan Antonio, TX 78251-4200
Wyrhsr Mtg 3815 South West TempleSalt Lake City, UT 84115-4412
eCAST Settlement Corporation SUCCESSOR to FIServices aka Bank of AmericaPOB 29262New York NY 10087-9262
eCAST Settlement Corporation assignee of Cit(South Dakota) NAPOB 29262New York NY 10087-9262
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